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FoR THE MIDDLE DISTRICT oF E§SEE ,.GUR§
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JOHN ANTHONY GENTRY, sui juris/pro se
Plaintiff
vs.

THE TENNESSEE BOARD

OF JUDICIAL CONDUCT;

THE HONORABLE JUDGE CHRIS,
CRAFT, individual and official capacity;
TIMOTHY R. DISCENZA, individual and
official capacity; UNNAMED MEMBERS OF
INVESTIGATIVE PANEL, individual and
official capacity; UNNAMED

LIABILITY INSURANCE CARRIER(S),
THE STATE OF TENNESSEE

Defendants

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CASE NO. 3:17-cv-00020

JURY DEMANDED (12)

 

PLAINTIFF’S MOTION FOR EXTENSION OF TIME

 

Plaintiff, John Anthony Gentry hereby moves for additional time to file a response to
Defendants’ Rule 12 Motion to Dismiss and to file an Amended Complaint. The undersigned
pro se Plaintiff needs additional time to research the available responses and prepare the
documents to be filed. Pursuant to Fed. R. Civ. P. Rule lS(a)(l)(B), Plaintiff is allowed 21 days
after service of a responsive pleading or 21 days after service of a motion under Rule lZ(b) to
amend as a matter of Course. Plaintiff received “courtesy” email service from Defendant’s

counsel on February 28, 2017. Accordingly, Plaintiff has until March 21, 2017, to file his

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amended complaint Plaintiff respectfully request an extension of ten (10) days, up to, and
including March 31, 2017, on or before Which date, Plaintiff Will file an amended complaint

and Plaintiff Will also file a response to Defendants’ Rule 12 Motion to Disrniss.

Respectfully submitted,

 

John Anthony Gentry, CPA, Pro Se
208 Navajo Court

Goodlettsville, TN 37072
615-351-2649
john.a.gentry@comcast.net

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Was sent via email and US

Mail to;

Stephanie A. Bergmeyer

Office of the Attorney General and Reporter
P.O. Box 20207

Nashville, TN 37202-0207
Stephanie.bertrneyer@ag.tn. gov

On this the 2nd day of March, 2017

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John Anthony Gentry, CPA

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